Case No. 1:20-cv-03643-RM-SKC Document 1-1 filed 12/11/20 USDC Colorado pgiof8

EXECUTION VERSION

BOARD ADVISER AGREEMENT

This Board Adviser Agreement (“Agreement”) is made effective as of November 12, 2017,
(“Effective Date”) by and between London Trust Media Incorporated, an Indiana corporation
(“Company”), and Turnkey Linux Ltd., an Israeli corporation (“Adviser”).

RECITALS

A. The Company's Board of Directors (“Board”) desires to obtain the advice and counsel of
the Adviser regarding the Company's business and financial matters within the Adviser's
experience and expertise.

B. The Board would like to engage the Adviser to act as an adviser to the Board, and the
Adviser is willing to provide advice and services to the Board on the terms and subject to the
conditions contained in this Agreement.

C. The Company has spent significant time, effort and money to develop certain
Confidential Information (as defined below) which the Company considers vital to its business
and goodwill.

D. The Company wishes to protect and preserve the confidentiality of such Confidential
Information and protect it from misuse.

The parties, intending to be legally bound, agree as follows:

1. Service as an Adviser. The Adviser shall serve as an adviser to the members of the Board
on a non-exclusive basis for the term of this Agreement. The Adviser shall perform services as
an independent contractor and not as an employee, agent, joint venturer or partner of the
Company. The Adviser shall have no power or authority to act for, represent or bind the
Company or its affiliates in any manner whatsoever, except as may be expressly agreed on each
occasion, in writing, by the Company and the Board. The Adviser agrees to take no action that
expresses or implies that the Adviser has such power or authority.

2. Duties. During the term of this Agreement, the Adviser will provide advice and counsel to
the members of the Board as may be reasonably requested from time to time, including, without
limitation, by rendering the services described on attached incorporated Schedule 1 to this
Agreement to the Board. The Adviser will report directly to the members of the Board in the
course of performing the Adviser's duties, unless otherwise expressly directed by the members of
the Board.

3. Term. This Agreement shall have a term of one year and shall automatically renew for
additional one year terms, provided that either party may terminate the Agreement, with or

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Case No. 1:20-cv-03643-RM-SKC Document 1-1 filed 12/11/20 USDC Colorado pg 2of8&

without reason, by providing a seven-day written notice to the other, and provided further that
the provisions of Section 4.2, Section 6 and Section 7 shall survive any termination or expiration
of this Agreement. In the event this Agreement is terminated by either party, pro rata fees and
unpaid expenses through the termination date shall be paid to the Adviser promptly after
termination.

4. Fees.

4.1 As compensation for the Adviser's services under this Agreement, the Company
shall pay to the Adviser the compensation described on attached incorporated Schedule 2 to
this Agreement.

4.2. The Adviser agrees to pay all federal, state and local taxes applicable to any
compensation paid to the Adviser pursuant to this Agreement. The terms and provisions of
this Section 4.2 shall survive termination or expiration of this Agreement.

5. Expenses. The Company agrees to promptly reimburse the Adviser for reasonable out-of-
pocket expenses incurred in connection with the Adviser's services, provided that any single
expense item in excess of $1,500 or monthly expense in excess of $3,000 shall be pre-approved
by the Company, and the Adviser shall provide appropriate documentation of all expenses.

6. Indemnification. In the performance of services, the Adviser shall be obligated to act only
in good faith, and shall not be liable to the Company for errors in judgment that are not the result
of willful misconduct. The Company agrees to indemnify and hold harmless the Adviser from

and against any and all losses, claims, expenses, damages or liabilities, joint or several, to which
the Adviser may become subject (including the costs of any investigation and all reasonable
attorneys’ fees and costs) or incurred by the Adviser, to the fullest extent lawful, in connection
with any pending or threatened litigation, legal claim or proceeding arising out of or in
connection with the services rendered by the Adviser under this Agreement; provided, however,
that the foregoing indemnity shall not apply to any such losses, claims, related expenses,
damages or liabilities arising out of or in connection with the Adviser's willful misconduct or
fraud, or material breach this Agreement. The terms and provisions of this Section 6 shall
survive termination or expiration of this Agreement.

7. Confidential Information; Developments.

Tel As used in this Agreement, "Confidential Information" means any and all
confidential or proprietary technical, trade and business information furnished, in any
medium, or disclosed in any form or method, including orally, by the Company to the
Adviser, or discovered by the Adviser through any means (including observation) including,
without limitation, information about the Company's employees, officers, directors, suppliers,
customers, affiliates, businesses and business relationships; operating technique, practice,
course of dealing, plan or strategy, sources of supply, customer lists and markets; sales,
profits, pricing, other financial data and know-how; financial projections, business plans,

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Case No. 1:20-cv-03643-RM-SKC Document 1-1 filed 12/11/20 USDC Colorado pg 3of8

marketing plans, marketing materials, logos and designs; personnel statistics; research;
computer hardware and software; current and future products, designs, developments,
capabilities, inventions, prototypes, models, drawings, specifications, methods and trade
secrets; technical data, inventions, processes, algorithms, formulae, franchises, databases,
computer programs, user interfaces, source codes, object codes, architectures and structures,
display screens, layouts, development tools and instructions, templates and other trade
secrets; and such other information normally understood to be confidential or otherwise
designated as such in writing by the Company, as well as information discerned from, based
on or relating to any of the foregoing which may be prepared or created by the Adviser.
Confidential Information shall not include:

(i) information that is publicly available as of the date of this Agreement; or

(ii) information that subsequently becomes publicly available or generally known
in the industry through no fault of the Adviser, provided that such information
shall be deemed Confidential Information until such time as it becomes
publicly available or generally known.

Tae The Adviser shall retain all Confidential Information in trust for the sole benefit
of the Company, its successors and assigns, and shall comply with any and all procedures
adopted from time to time to protect and preserve the confidentiality of any Confidential
Information. The Adviser shall not at any time, during or after the term of this Agreement,
directly or indirectly, divulge, use or permit the use of any Confidential Information, except
as required by the Adviser's services under this Agreement. Adviser agrees to employ
reasonable steps to protect Confidential Information from unauthorized or inadvertent
disclosure. Upon expiration or termination of this Agreement and upon the Company's
request during the term of this Agreement, the Adviser shall promptly return any and all
tangible Confidential Information (whether written or electronic) to the Company, including
all copies, abstracts or derivatives thereof.

7.3 The Company shall own all right, title and interest relating to all inventions,
improvements, discoveries, methods, developments, software, and works of authorship,
whether patentable or not, which are created, made, conceived or reduced to practice by the
Adviser or jointly with others in the course of the Adviser's performance of services under
this Agreement or using the Company's Confidential Information (collectively,
“Developments”’). The Adviser agrees to make full and prompt disclosure to the Company of
all Developments and provide all Developments to the Company. Adviser assigns to the
Company or its designee all of the Adviser's right, title and interest in and to any and all
Developments. The Adviser agrees to cooperate fully with the Company, both during and
after the term of this Agreement, with respect to the procurement, maintenance and
enforcement of intellectual property rights (both in the United States and foreign countries)
relating to any Developments. The Adviser shall sign all documents which may be necessary
or desirable in order to protect the Company's rights in and to any Development, and the

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Case No. 1:20-cv-03643-RM-SKC Document 1-1 filed 12/11/20 USDC Colorado pg4of8

Adviser hereby irrevocably designates and appoints each officer of the Company as the
Adviser's agent and attorney-in- fact to execute any such documents on the Adviser's behalf,
and to take any and all actions as the Company may deem necessary or desirable in order to
protect its rights and interests in any Development. Notwithstanding anything to the contrary
above, this Section 7.3 does not apply to an invention for which no equipment, supplies,
facility or trade secret information of the Company was used and which was developed
entirely on the Adviser's own time, unless the invention relates to the business of the
Company or to the Company's actual or demonstrably anticipated research or development,
or the invention results from any work performed by the Adviser for the Company.

7.4 The Adviser acknowledges that the Company competes with other businesses that
are or could be located anywhere; that the provisions of this Agreement are reasonable and
necessary to protect and preserve the Company's business interests; and that the unauthorized
disclosure, use or disposition of any Confidential Information in breach of this Agreement
may cause irreparable harm and significant injury for which there is no adequate remedy at
law. Accordingly, the parties agree the Company shall have the right to immediate injunctive
relief in the event of any breach or threatened breach of the obligations in this Section 7,
without security or bond, in addition to any other remedies that may be available to the
Company at law or in equity. The terms and provisions of this Section 7 shall survive
termination or expiration of this Agreement.

8. Publicity. The Company shall, with prior written approval by the Adviser, have the nght
to use the name, biography and picture of the Adviser on the Company's website, marketing and
advertising materials.

9. Other Relationships. The Company acknowledges that the Adviser may provide business
and financial consulting services and advice of the type contemplated by this Agreement to
others, and that, subject to the provisions of Section 7 of this Agreement, nothing contained
herein shall be construed to limit or restrict the Adviser in providing such services or advice to
others.

10. No Conflicts. The Adviser represents and warrants to the Company that the Adviser is
free to enter into this Agreement and the services to be provided pursuant to this Agreement are
not in conflict with any other contractual or other obligation to which the Adviser is bound.

11. Notices. Notices are to be delivered in writing to the addresses listed on the signature
page of this Agreement or to such other address as may be given by each party from time to time
in under this Section. Notices shall be deemed properly given upon personal delivery, the day
following deposit by overnight carrier, or three days after deposit in the U.S. mail.

12. Parties in Interest. This Agreement is made solely for the benefit of the Adviser and the
Company, its shareholders, directors and officers. No other person shall acquire or have any right
under or by virtue of this Agreement.

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Case No. 1:20-cv-03643-RM-SKC Document 1-1 filed 12/11/20 USDC Colorado pg5of8

13. Entire Agreement; Amendments: Severability; Counterparts. This Agreement
constitutes the entire agreement and understanding of the parties, and supersedes any and all

previous agreements and understandings, whether oral or written, between the parties with
respect to the matters set forth in this Agreement. No provision of this Agreement may be
amended, modified or waived, except in a writing signed by the parties. The invalidity or
unenforceability of any provision of this Agreement shall not affect the validity or enforceability
of any other provision, and if any restriction in this Agreement is found by a court to be
unreasonable or unenforceable, then such court may amend or modify the restriction so it can be
enforced to the fullest extent permitted by law. The section headings in this Agreement have
been inserted as a matter of convenience of reference and are not a part of this Agreement. This
Agreement may be executed by electronic signature in any number of counterparts, each of
which together shall constitute one and the same instrument.

14. Applicable Law: Jurisdiction. This Agreement shall be governed by and construed in
accordance with the laws of Colorado, without giving effect to conflict of law principles. Any
action arising out of this agreement shall be brought exclusively in a court of competent
jurisdiction located in Denver County, Colorado.

15. Authority. This Agreement has been duly authorized, executed and delivered by and on
behalf of the Company and the Adviser.

[SIGNATURE PAGE FOLLOWS]

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Case No. 1:20-cv-03643-RM-SKC Document 1-1 filed 12/11/20 USDC Colorado pg 6of8

IN WITNESS WHEREOPF, the parties have executed this Agreement as of the Effective

Date.

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LONDON TRUS¥ MEDIA INCORPORATED

By:

Ted Kim
Its: Chief Executive Officer

Address:
P.O. Box 46861
Los Angeles, California 90046

TURNKEY LINUX, LTD.

By:
Tiras Siri .
Its: Chief Executfve Offféer

Address:
Hahagana 29
Ariel

Zipcode: 4070628

Case No. 1:20-cv-03643-RM-SKC Document 1-1 filed 12/11/20 USDC Colorado pg 7 of8

EXECUTION VERSION

SCHEDULE 1
TO
BOARD OF ADVISER AGREEMENT

Duties

As a Board Adviser, you shall cause either Liraz Siri or Alon Swartz:

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Attend and participate in meetings of the Board, generally to be held in Colorado.
Your status at any Board meeting will be as an observer, without any right to vote
on matters submitted to a vote of the Board.

Participate in regular advisory calls with members of the Board or the Company's
management which shall last no one than 90 minutes each.

Be available upon reasonable advance notice to provide telephonic guidance and
consultation to members of the Board or the Company's management on as as-
needed basis.

Study and review the business, operations and historical financial performance of
the Company, so as to be able to properly advise members of the Board and the
Company's management.

Participate in an annual full-day retreat generally to be held within Colorado.
Case No. 1:20-cv-03643-RM-SKC Document 1-1 filed 12/11/20 USDC Colorado pg 8of8

EXECUTION VERSION

SCHEDULE 2
TO
BOARD OF ADVISER AGREEMENT

Compensation

As compensation for the Adviser's services under this Agreement, the Company shall ()
pay to Adviser a monthly retainer (“Retainer”) of $6,000 and (ii) issue the Adviser 125 shares of
phantom stock issued pursuant to the Phantom Stock Ownership and Long Term Incentive Plan,
as amended (“Plan”) adopted by the Company.

The Retainer shall be paid in cash or cash equivalents in equal calendar quarterly
installments on the first day of the quarter (“Quarterly Payment Date”). If the Adviser is
appointed other than at the beginning of a calendar quarter, the Adviser shall receive a pro-rated
portion of the Retainer based on the number of complete months the Adviser served as an adviser
before the beginning of the next calendar quarter. Any pro-rated portion of any monthly retainer
for any calendar quarter shall be payable on the next regularly scheduled Quarterly Payment
Date.

The issuance of the shares of phantom stock is subject to the terms and conditions of the
Plan and the recipient award agreement except that the 125 shares of phantom stock (i) shall
immediately vest upon the execution of the recipient award agreement and (i1) will be
nonforfeitable except that all shares will be forfeited upon the occurrence of a “For Cause” (as
defined in the Plan) event or if this Agreement is terminated on or before the three-year
anniversary of the Effective Date. In the event this Agreement is terminated by either party on or
before the three-year anniversary of the Effective Date, the vested shares of phantom stock shall
be forfeited based on a monthly proration basis and the date of termination. In the event of a
conflict between the terms of this Agreement and the Plan as to (i) and (11) above, this Agreement
shall control.

The Company shall not be responsible for withholding or paying any income, payroll,
Social Security or other international, federal, state or local taxes, making any insurance
contributions, including unemployment or disability, or obtaining worker's compensation
insurance on the Adviser's behalf. However, the Company may file informational returns with
the appropriate federal and state agencies regarding such payments. The Adviser is solely
responsible for the payment of all taxes and contributions on the Adviser's behalf.

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